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                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

    IN RE: OCA, Inc., et al.                            CIVIL ACTION

                                                        NO: 06-2933

                                                        SECTION: R(3)


   This document applies to the following civil            actions in the
   Eastern District of Louisiana: Nos. 06-2874,            06-2933, 06-2938,
   06-2940, 06-3226, 06-3227, 06-3228, 06-4303,            06-4307, 06-4309,
   06-4310, 06-4312, 06-4313, 06-4315, 06-4317,            06-4321, 06-4323,
   06-4327, 06-4329, 06-4330, 06-4331, 06-6268,            07-0474, 07-0479,
   07-0480, 07-5614, 07-5615, 07-5616, 07-5617,            07-5618, 07-5619,
   07-5620, 07-5621, 07-5622, 07-5623, 07-5624,            07-5625, 07-5626,
   07-5627, 07-5628, 07-5629, 07-5630, 07-5631,            07-5632, 07-5633,
   07-5634, 07-5635, 07-5636, 07-5637, 07-5638,            07-5639, 07-5640,
   07-5641, 07-5642, 07-5643



                                 ORDER AND REASONS

          Before the Court are 55 motions to withdraw the reference to

   the bankruptcy court filed by doctors in the above-referenced

   cases. For the following reasons, the Court GRANTS the doctors’

   motions.
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   I. BACKGROUND

          A. Factual Background

          Orthodontic Centers of America, Inc. (OCA) is a company that

   provides business services to orthodontists and dentists. OCA is

   incorporated in Delaware and has its principal place of business

   in Metairie, Louisiana. It operates through a network of wholly

   owned subsidiaries named according to the states in which OCA

   does business (e.g., Orthodontic Centers of Alabama, Inc.). None

   of its subsidiaries, however, has offices or employees in the

   individual states in which OCA does business; they are also

   Delaware corporations with principal places of business in

   Metairie. Through these subsidiaries, OCA entered into long-term

   business service agreements (BSAs) with doctors in about 250

   practices nationwide to provide office management and patient

   billing support among other services. Under the BSAs, the doctors

   pay OCA a monthly service fee based upon a percentage of their

   operating profit or practice revenue. The BSAs are OCA’s primary

   asset and the source of nearly all its revenue.

          On March 14, 2006, OCA and most of its subsidiaries filed

   Chapter 11 petitions under the Bankruptcy Code. A small number of

   additional subsidiaries filed Chapter 11 petitions on March 17

   and June 2, 2006. All of the debtors’ cases have been

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   consolidated into one case. According to OCA, some doctors began

   to default under the BSAs in late 2004. The resulting litigation

   increased dramatically through early 2006 as more doctors

   defaulted under the BSAs, severely depleting OCA’s revenue

   stream. OCA argues that the doctors did not seek a judicial

   determination that they were relieved of their obligations under

   the BSAs, but rather stopped performance under a unilateral

   determination that OCA was in breach. OCA further claims that the

   doctors continued to use OCA’s intellectual and other property

   after they stopped performing under the BSAs.

          The doctors assert that the disputes between OCA and the

   doctors did not start in 2004, but began in 1999 with OCA’s

   failure to perform under the BSAs. The doctors were unable to

   share information they learned in individual contract disputes

   against OCA because of the requirement that discovery be kept

   confidential. In 2004, OCA lost a case over its practice of

   secretly marking up the overhead charged to its clients by ten

   percent. As a result of this outcome, OCA stopped marking up its

   overhead, which negatively affected its profitability.

          The doctors assert that OCA defaulted under the BSAs by

   failing to pay practice expenses out of practice revenues in a

   timely manner. They argue that, since OCA was to use practice

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   revenues, not its own revenue, to pay the expenses, its own

   financial troubles should not have affected its ability to

   perform under the BSAs. The doctors gave OCA written notice of

   default and time to cure. According to the doctors, OCA responded

   with silence or letters denying any default. Upon notice of

   default, OCA terminated the doctors’ staffs and shut off access

   to patient scheduling and billing records.



          B.    Procedural Background

          OCA’s filing for bankruptcy has given rise to dozens of

   adversary proceedings in the bankruptcy court. After OCA filed

   for bankruptcy, 11 of the 55 doctors with motions currently

   before the Court initiated adversary proceedings against OCA in

   the bankruptcy court. Each set of doctors brought state law

   claims for breach of contract and breach of fiduciary duty and

   sought a declaratory judgment that its BSA is illegal under state

   law. Each plaintiff also requested a jury trial. In the remaining

   44 cases that are before the Court, OCA initiated adversary

   proceedings against the doctors, bringing its own contract

   claims, along with claims for unjust enrichment and fraudulent

   conveyance. Within these claims, OCA pleaded that it should be

   able to offset or recoup any cure amount should the court

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   determine a mutual breach. In response, these doctors filed

   counterclaims against OCA, in which they also sought a

   declaratory judgment that the BSAs were illegal and

   counterclaimed for breach of contract and breach of fiduciary

   duty. In their counterclaims for breach of contract and fiduciary

   duty, the doctors also pleaded that they should be permitted to

   offset and/or recoup any cure amounts from OCA should it be

   determined that OCA is entitled to assume the BSAs as part of its

   reorganization. Those doctors bringing counterclaims also

   demanded jury trials.

          On June 5, 2006, a group of 28 doctors moved to withdraw the

   reference from the bankruptcy court. On September 18, 2006, the

   Court denied these motions to withdraw the reference as

   premature. The Court noted that the doctors could renew their

   motions to withdraw should it become clear that any of the BSA

   disputes required a jury trial.

          On January 26, 2007, the bankruptcy court confirmed OCA’s

   plan of reorganization and entered findings of fact and

   conclusions of law that the plan is feasible1 and in the best




   1
     See Findings of Fact and Conclusions of Law Regarding the
   Confirmation of the Joint Plan of Reorganization at ¶ 17.

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   interest of the debtors.2 Specifically, the bankruptcy court

   found that the plan

          provides for the disposition of all Claims against the
          Estates, while providing a mechanism for Debtors to resolve
          [their] pending disputes with Affiliated Practices
          [doctors]. Thus, the Debtors will emerge from this chapter
          proceeding with a restructured debt and a business model
          which puts it on the path to successful reorganization.
          There will be no need for further reorganization or
          liquidation and, thus, the Plan is feasible.3

   Article 5 of the plan provides for the assumption of BSAs. Under

   the plan, 176 BSAs were assumed unconditionally, and 70,

   including the 55 BSAs involved in these motions, were assumed

   conditionally, pending the outcome of the BSA litigation.4

          With respect to conditional assumption of the BSAs, both the

   plan and the bankruptcy court’s confirmation order incorporate

   the terms of the August 3, 2006 “Stipulations and Order” entered

   into between OCA and these doctors.5 This order provides that




   2
       See id. at ¶¶ 24, 25.
   3
       Id. at ¶ 17.
   4
     Compare Confirmation Order Ex. B to August 3, 2006 Stipulations
   and Order Ex. A, B.
   5
     See Plan of Reorganization at ¶ 5.1.2.1; Order Confirming Plan
   of Reorganization at ¶ 16; August 3, 2006 Stipulations and Order
   at ¶¶ 8, 9.


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   OCA’s “conditional assumption”6 of these BSAs is subject to “the

   post-confirmation determination of issues related to the

   assumption/rejection of the BSAs of the Stipulating Parties.”7

   The order specifically reserves the following questions for

   determination after plan confirmation: whether these BSAs are in

   fact executory contracts that OCA may assume; whether OCA has any

   obligation to cure under any BSA; whether the BSAs are legally

   enforceable agreements; the parties’ rights of setoff,

   recoupment, or compensation; whether the BSA litigation is a core

   bankruptcy proceeding; whether the doctors have jury trial

   rights; and whether the reference of these cases to the

   bankruptcy court should be withdrawn.8 The order further provides

   that OCA’s assumption of other BSAs under the plan shall have no

   preclusive effect on any issue related to the BSAs of the

   stipulating doctors.9 Furthermore, the order explicitly states

   6
       See Stipulations and Order at ¶¶ 1, 2.
   7
       Id. at ¶ 1.
   8
     See id. Also, although there is no indication that any of the
   55 doctors with motions before the Court have brought suit
   against OCA in any other forum or brought prepetition lawsuits
   that were removed to the bankruptcy court, the order also
   reserves questions about whether any cases should be remanded or
   removed.
   9
     Id. at ¶ 6.


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   that the doctors do not consent to the jurisdiction of the

   bankruptcy court over their BSA claims.10 In addition, the order

   provides that in the event of any conflict between it and the

   plan of reorganization, the terms of the order shall prevail.11

   Finally, the plan specifically provides that “all Causes of

   Action . . . against any Stipulating Party shall be retained by

   and vest in the Reorganized Debtors in accordance with the

   Stipulations and Order.”12

           On January 12, 2007, shortly before the bankruptcy court

   confirmed OCA’s plan of reorganization, some of the doctors

   renewed their motions to withdraw the reference. On June 1, 2007,

   the Court denied these motions in light of a scheduled mediation.

   The mediation was unsuccessful, and 55 of the stipulating doctors

   moved to withdraw the reference to the bankruptcy court. Of the

   motions to withdraw that are currently before the Court, 25 are

   renewed motions, and 30 are new motions. The cases involve

   substantially similar claims for breach of contract and breach of

   fiduciary duty, along with pleas for setoff and recoupment. In

   addition, three doctors filed formal proofs of claim against the
   10
        Id. at ¶ 7.
   11
        Id. at ¶ 9.
   12
        Plan of Reorganization at ¶ 5.1.12.

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   OCA estate. The bankruptcy record indicates that although one of

   these doctors later withdrew his proof of claim, he did not do so

   before the initiation of adversary proceedings.

          The doctors argue that the BSA litigation involves questions

   of state law and does not implicate the Bankruptcy Code in any

   significant way. Thus, they contend, their adversary actions are

   not “core” bankruptcy matters that the bankruptcy court may

   decide. They further argue that they have Seventh Amendment jury

   trial rights and that they have not consented to trial by the

   bankruptcy court. Although they recognize that the three doctors

   who filed formal proofs of claim subjected themselves to the

   equitable jurisdiction of the bankruptcy court, they argue that

   the Court should also withdraw the reference in these three cases

   for reasons of judicial economy and administrative uniformity.

          In response, OCA contends that the adjudication of this BSA

   litigation is a core bankruptcy function because it will

   determine whether these contracts are executory and therefore are

   capable of being assumed. OCA further argues that all of the

   doctors, by initiating adversary proceedings and filing

   counterclaims for setoff and recoupment, effectively filed claims

   against the estate, thereby consenting to the bankruptcy court’s

   jurisdiction and waiving any jury trial rights they might have

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   had. OCA also maintains that the Court should deny as untimely

   any new motions to withdraw the reference.



   II. DISCUSSION

         The standard for when a district court may withdraw the

   reference from a bankruptcy court is outlined in 28 U.S.C. §

   157(d), which provides for both mandatory and permissive

   withdrawal:

           The district court may withdraw, in whole or in part,
           any case or proceeding referred under this section,
           on its own motion or on timely motion of any party,
           for cause shown. The district court shall, on timely
           motion of any party, so withdraw a proceeding if the
           court determines that resolution of the proceeding
           requires consideration of both title 11 and other
           laws of the United States regulating organizations or
           activities affecting interstate commerce.

   28 U.S.C. § 157(d). The doctors do not seek mandatory withdrawal

   of the reference, and no party contends that the BSA disputes

   implicate federal law. Nor does the Court discern any federal

   questions in these adversary proceedings. Consequently, the Court

   will consider whether permissive withdrawal is appropriate under

   28 U.S.C. § 157(d) “for cause shown.”

         The Fifth Circuit has held that in determining whether to

   withdraw the reference for cause shown, district courts should

   consider whether the matter at issue is a core or a non-core

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   proceeding. See Holland America Ins. Co. v. Succession of Roy,

   777 F.2d 992, 999 (5th Cir. 1985). Additionally, courts should

   consider whether the proceedings involve a jury demand and

   whether withdrawal would further the goals of promoting

   uniformity in bankruptcy administration, reducing forum shopping

   and confusion, fostering the economical use of the debtor’s and

   creditors’ resources, and expediting the bankruptcy process. Id.



         A.    Nature of the Proceedings

         A non-exhaustive list of core proceedings is set forth in 28

   U.S.C. § 157(b)(2). The list includes allowance or disallowance

   of claims against the estate, estimation of claims, and

   counterclaims by the estate against persons filing claims against

   the estate. See 28 U.S.C. §157(b)(2)(B), (C). Other than by

   listing examples, the statute does not define “core proceedings.”

   The landmark Supreme Court case of Northern Pipeline v. Marathon

   Oil, 458 U.S. 50 (1982), set out the general principle that “the

   restructuring of debtor-creditor relations [ ] is at the core of

   the federal bankruptcy power, [and] must be distinguished from

   the adjudication of state-created private rights, such as the

   right to recover contract damages.” Id. at 71 (Brennan, J.,

   plurality opinion) (emphasis in original). Courts consider

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   matters that arise under the Bankruptcy Code to be core. See In

   re Babcock & Wilcox Co., 2001 WL 1018366, at *3 (E.D. La. July 2,

   2001). Additionally, courts consider a proceeding core if it

   involves substantive rights provided by title 11 or if by its

   nature the proceeding could arise only in the context of a

   bankruptcy case. See Wood, 925 U.S. at 97.

         As the Court explained in its September 18, 2006 order

   denying the initial motions to withdraw the reference, Wood is

   instructive on what constitutes a core proceeding. In Wood, the

   court considered whether a single state contract claim could

   constitute a core proceeding, and explained that bankruptcy

   judges

            may exercise full judicial power over only those
            controversies that implicate the peculiar rights and
            powers of bankruptcy or . . . controversies at the
            core of the federal bankruptcy power. [But]
            controversies that do not depend on the bankruptcy
            laws for their existence – suits that could proceed
            in another court even in the absence of bankruptcy –
            are not core proceedings.

   Id. at 96 (internal quotations omitted). In holding that the

   contract dispute did not constitute a core matter, the Wood court

   reasoned that any connection between an ordinary state contract

   claim and the bankruptcy proceedings was speculative because the

   essential issue was liability under state law, the determination


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   of which might or might not raise core bankruptcy matters. Id. at

   98. Such a connection would arise only after the issuance of a

   judgment and the initiation of proceedings to allow that claim or

   discharge that debt. Id. That the doctors’ claims are for breach

   of contract, breach of fiduciary duty and declaratory relief, and

   are entirely based on state law, supports a finding that they are

   noncore claims.

         Further, as a result of the bankruptcy court’s confirmation

   of the plan of reorganization, the current posture of these cases

   is dramatically different from what it was a year ago. By

   confirming the plan, the bankruptcy court has already

   restructured OCA’s relations with its creditors. Resolution of

   the BSA litigation at issue in these motions is not integral to

   this restructuring and reorganization. The confirmed plan of

   reorganization was based on OCA’s unconditional assumption of 170

   BSAs. It assumed the 55 BSAs at issue on only a conditional

   basis, subject to later determination of the issues raised in the

   adversary proceedings. The plan provides no assurance that the

   reorganized firm will in fact ultimately assume these contracts.

   Thus, the bankruptcy court’s determination on plan feasibility

   and the exercise of business judgment took into account the

   conditional nature of the assumption of these BSAs. There is

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   nothing in the plan or the bankruptcy court’s confirmation order

   to suggest that confirmation was contingent on a finding that

   these disputed BSAs are indeed executory contracts capable of

   being assumed. Nor does the plan indicate that it is necessary

   for the bankruptcy court to resolve these issues in the debtors’

   favor for the reorganization to become effective. On the

   contrary, the plan’s explicit incorporation of the bankruptcy

   court’s August 3, 2006 Stipulations and Order, which reserves all

   issues in these cases, indicates that OCA’s reorganization does

   not depend on its assumption of any of the BSAs at issue in the

   motions to withdraw. That resolution of these issues will affect

   the reorganized firms is not in dispute. Any litigation involving

   OCA and its subsidiaries will impact the companies. Whether these

   issues are integral to reorganization is a different question. By

   the confirmed plan’s very terms, resolution of these BSA disputes

   is not vital to the debtors’ restructuring and is therefore

   adventitious to the reorganization. See Granfinanciera, S.A. v.

   Nordberg, 492 U.S. 33, 60 n.15 (1989).

         The bankruptcy court has apparently made the bankruptcy law

   determination that it is in the best interests of the debtors to

   assume these contracts, subject to the outcome of the BSA

   litigation. What is left in the BSA litigation are really state

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   law issues of the legality of the contracts and whether they were

   breached under state law. These issues do not implicate

   bankruptcy law or special bankruptcy court expertise. There is

   nothing about the bankruptcy, the construction of the plan or its

   implementation that compels the bankruptcy court to decide these

   state law claims. In Wood, the Fifth Circuit cautioned against

   treating any proceeding that affects the estate as core because

   “otherwise, the entire range of proceedings under bankruptcy

   jurisdiction would fall within the scope of core proceedings, a

   result contrary to the purpose of the 1984 Act. That purpose is

   to conform the bankruptcy statute to the dictates of Marathon.”

   Wood, 825, F.2d at 95.

         The BSA disputes at issue involve questions of state law.

   Under the confirmed plan, OCA assumed these BSAs on only a

   conditional basis, subject to the outcome of later litigation.

   Resolution of these issues is not integral to the restructuring

   of debtor-creditor relations, as the bankruptcy court has

   confirmed the plan of reorganization. Accordingly, these

   disputes, although initiated in the bankruptcy courts, are not

   core proceedings under title 11.




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         B.    Jury Trial Demand

         In every adversary proceeding at issue, the doctors have

   demanded jury trials. Furthermore, the August 3, 2006

   Stipulations and Order expressly provides that the doctors

   reserve their right to a jury trial and that they do not consent

   to trial of the adversary actions by the bankruptcy court. Still,

   OCA contends that the doctors, either by initiating adversary

   proceedings or filing counterclaims against OCA, have consented

   to the equitable jurisdiction of the bankruptcy court, thereby

   waiving any Seventh Amendment jury trial rights.

         A threshold question for the Court to consider is whether

   the nature of the doctors’ claims entitles them to jury trials.

   The Court finds that the doctors’ claims would entitle them to

   jury trials. Each doctor’s breach of contract claim requires the

   interpretation of the BSA and whether OCA breached the agreement.

   Breach of contract claims are legal actions that entitle the

   parties to a trial by jury. See Simler v. O’Connor, 372 U.S. 221,

   223 (1963) (holding that a suit to enforce contract rights was a

   legal action even though it was brought as a declaratory judgment

   action); In re Tastee Donuts, Inc., 137 B.R. 204, 206 (E.D. La.

   1992). The doctors also invoke the equitable power of the Court

   in their request for a declaratory judgment that the BSAs are

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   invalid under state laws. But the Supreme Court has held that if

   a “legal claim is joined with an equitable claim, the right to

   jury trial on the legal claim, including all issues common to

   both claims, remains intact.” Curtis v. Loether, 415 U.S. 189,

   196 n.11 (1974); see also Beacon Theaters, Inc. v. Westover, 359

   U.S. 500, 510-11 (1959). Accordingly, the doctors do not lose

   their rights to jury trials even if one of their claims is

   equitable in nature.

         There are bankruptcy court decisions that support both the

   debtors’ and the doctors’ arguments on whether the doctors waived

   a jury trial by filing a claim or counterclaim as part of an

   adversary proceeding. These cases are not binding authority on

   this Court, and the Court has not found any Fifth Circuit

   authority on point. Further, the Court does not find the waiver

   cases that OCA cites to be persuasive in this context. These

   cases appear to have been decided in the middle of bankruptcy

   proceedings, not after reorganization had occurred. There is no

   indication in any of these cases that they were decided after the

   bankruptcy court had approved a plan of reorganization. See,

   e.g., In re Commercial Fin. Servs., Inc., 252 B.R. 516, 525

   (Bankr. N.D. Okla. 2000) (Commercial Financial Services II)

   (explaining that plaintiff’s claims entailed a request for the

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   court “to determine that their claims have administrative

   priority over other claims against the estate”); In re Commercial

   Fin. Servs., Inc., 251 B.R. 397, 406, 408 (Bankr. N.D. Okla.

   2000) (Commercial Financial Services I) (stating that defendant’s

   claims “would reduce the recovery [debtor] would obtain for

   distribution to unsecured creditors” making it “integral to the

   restructuring of the debtor-creditor relationship”); In re N. Am.

   Energy Conservation, Inc., 2000 WL 1514614, at *2 (S.D.N.Y. Oct.

   12, 2000) (observing that a claim for setoff “takes on a

   particular importance in the context of bankruptcy, as it, in

   effect, elevates an unsecured claim to secured status to the

   extent that the debtor has a mutual pre-petition claim” (internal

   citations omitted)); In re Lang, 166 B.R. 964, 966 (D. Utah 1994)

   (explaining that nondebtor brought adversary proceeding on issue

   of dischargeability, a determination that is integral to

   restructured debtor-creditor relations). The Court has no doubt

   that what animates many of these decisions is the recognition

   that the exercise of bankruptcy jurisdiction over claims such as

   these will facilitate the bankruptcy court’s ability to manage

   the process of reorganization and the restructuring of debtor-

   creditor relations. That consideration, however, is not present

   here because the bankruptcy court has already accomplished the

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   task of reorganization and confirmed the plan. Moreover, from the

   beginning, the doctors have asserted their jury trial rights.

   They have never manifested an intention to waive them. On the

   contrary, by entering into the bankruptcy court’s August 3, 2006

   order, they underscored that they do not consent to the

   jurisdiction of the bankruptcy court and still demand jury

   trials. The debtor developed a plan for reorganization that

   provides for only the conditional assumption of some BSAs. The

   dispute over these BSAs is now between the doctors and the

   reorganized firm. The BSA disputes at issue in this litigation do

   not arise in the same context as the nondebtor claims and

   counterclaims in the cases that OCA cites, and their resolution

   is not integral to the reorganization process. Accordingly, the

   Court concludes that the doctors did not waive their jury trial

   rights by initiating adversary proceedings and filing

   counterclaims.

         The Court also recognizes that three of the doctors who have

   moved to withdraw the reference also filed formal proofs of

   claim. Typically, parties who file proofs of claim are treated as

   having consented to the jurisdiction of the bankruptcy court. See

   Langenkamp v. Culp, 498 U.S. 42, 44 (1990) (explaining that by

   filing a proof of claim a party “triggers the process of

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   ‘allowance and disallowance of claims,’ thereby subjecting

   himself to the bankruptcy court’s equitable power”); Wood, 825

   F.2d at 97 (observing that a party who filed a proof of claim

   “invokes the special rules of bankruptcy”); In re Efficient

   Solutions, Inc., 2000 WL 1876356, at *5 (E.D. La. Dec. 20, 2000)

   (same). But in the current context, the Court fails to see how

   these doctors are in a different position from the other doctors

   who did not file proofs of claims against the estate. The August

   3, 2006 Stipulations and Order that sets out the framework for

   the reorganized firm’s conditional assumption of BSAs applies to

   these doctors in the same way as it does to all of the others.

   Similarly, these three doctors took the same steps to assert

   their jury trial rights as did all of the others. The plan does

   not treat them any differently than the other doctors seeking

   withdrawal. Additionally, as explained, supra, the plan provides

   a mechanism for resolution of claims against the estate that

   would apply to these three doctors’ claims. At this juncture,

   that these doctors filed proofs of claim is not determinative of

   whether they waived their jury trial rights. For all practical

   purposes, they are in the same boat as the other doctors because

   the bankruptcy court has confirmed the plan, and the plan treats

   them the same as the other doctors who object to the assumption

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   of their BSAs. Accordingly, the Court finds that these three

   doctors have not waived their jury trial rights. Additionally,

   the Court notes that their claims present the same noncore issues

   as the other doctors, and that the plan is not contingent on any

   particular resolution of these issues.



         C.    Other Factors

         Although the Court concludes that these proceedings are non-

   core and that the doctors retain the right to jury trials, it

   will briefly address the other Holland America factors and the

   issue of timeliness. Considerations of judicial economy in this

   context are neutral. The bankruptcy court has expeditiously

   handled discovery and pretrial issues, and these cases are

   apparently ready for trial. At this juncture, a trial must occur

   in one court or another. The bankruptcy court is not empowered to

   conduct a jury trial in any event. The Court find that judicial

   economy does not weigh for or against withdrawal.

         The Court finds that withdrawing the reference does not

   interfere with the uniformity of the bankruptcy administration.

   The plan of reorganization is not contingent on the resolution of

   these suits. The bankruptcy court may act on the outcomes

   rendered in the litigation in the process of administering the

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   plan. In addition, the Court does not find any evidence of forum

   shopping. The doctors asserted their jury trial rights upon

   filing their claims and counterclaims. And in the Stipulations

   and Order, they expressly reserved these rights and made clear

   that they did not consent to the bankruptcy court’s jurisdiction.

         Finally, the Court finds that the doctors’ motions do not

   raise any timeliness concerns. In its September 18, 2006 order,

   the Court made clear that motions to withdraw the reference could

   be filed when it became clear that jury trials would be required.

   The Court denied the second round of motions in favor of allowing

   the scheduled mediation to proceed. Once that failed, and it

   became clear that the cases would proceed to trial, the motions

   to withdraw then became ripe. That some of the doctors did not

   join in the initial round of motions is of no consequence. All of

   the doctors before the Court were covered by the bankruptcy

   court’s August 3, 2006       Stipulations and Order, which clearly

   reserves the issue of whether jury trials are required and

   whether withdrawal of the reference is appropriate. Therefore,

   the Court finds that these doctors timely filed their motions in

   light of the case management decisions by this Court and the

   bankruptcy court.



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   III. CONCLUSION

         For the foregoing reasons, the Court GRANTS the doctors’

   motions to withdraw the reference.




                                      5th day of November 2007.
         New Orleans, Louisiana, this ___



                      _________________________________

                                   SARAH S. VANCE
                            UNITED STATES DISTRICT JUDGE




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